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 The Honorable Zahid N. Quraishi
 United States District Judge, District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street, Room 2020
 Trenton, NJ 08608

                                          March 25, 2024

        RE: Kim, et al. v. Hanlon, et al.
           3:24-cv-01098-ZNQ-TJB

 Dear Judge Quraishi,

         I represent Defendant Burlington County Clerk in the above referenced matter. I write on
 behalf of the Defendants to notify the court of a significant development in the factual record of
 this case, and to request an emergent telephonic case management conference.

        Yesterday, First Lady Tammy Murphy withdrew her bid for the United States Senate.
 According to press reports including a press conference from the Andy Kim for New Jersey
 campaign, the practical effect of this will be that all “county lines” are awarded to Andy Kim,
 and he has accepted them. Therefore, lead Plaintiff Andy Kim will hold the ballot position this
 very lawsuit alleges is unconstitutional in every county in the state that utilizes this design.

         This new development drastically changes the relevant analysis of irreparable harm, the
 court’s weighing of the balance of the harms, and it invalidates a large portion of the factual
 record in this case. Defendants, having built a factual record and legal defense that applies to a
 fundamentally different context than the current reality, are now prejudiced without the ability to
 supplement the record to fit this paradigm shift in the election.

        Therefore, it is respectfully requested by all Defendants that the court hold an emergent
 telephonic case management conference on this matter.

                                               Respectfully submitted,
                                               /s/ Mark R. Natale, Esq.
                                               Mark R. Natale, Esq.
